
34 N.Y.2d 876 (1974)
Wayside Nurseries, Inc., Individually and as Assignee of Wayside Nurseries Landscape Division Corp., Respondent,
v.
State of New York, Appellant. (Claim No. 47595.)
Court of Appeals of the State of New York.
Argued June 5, 1974.
Decided June 26, 1974.
Louis J. Lefkowitz, Attorney-General (J. Lawson Brown and Ruth Kessler Toch of counsel), for appellant.
Harold M. Halpern and Robert A. Sandler for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, JONES, WACHTLER, RABIN and STEVENS. Taking no part: Judge GABRIELLI.
Judgment affirmed, with costs, on the opinion at the Appellate Division.
